         Case 5:19-cv-04015-SAC-TJJ Document 129 Filed 03/04/19 Page 1 of 1


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Re: Bratcher et al v. Biomet Orthopedics, LLC et al
USDC Kansas Case number: 5:19-cv-4015-SAC-TJJ
USDC Indiana Northern Case number: 3:15-cv-00518-RLM-MGG

Dear Counsel of Record:

Please be advised that the above mentioned action has been transferred to the U.S. District Court for
the District of Kansas at Topeka, Kansas. We have assigned Civil Action Number: 19-4015-SAC-TJJ,
assigned to the Honorable Sam A. Crow, District Judge, and to the Honorable Teresa J. James,
Magistrate Judge, for pretrial proceedings.

Our local rules and information regarding admission pro hac vice can be found at
www.ksd.uscourts.gov or by contacting the Clerk's Office at (785)338-5400.


                                                            Sincerely,
                                                            TIMOTHY O'BRIEN, CLERK

                                                            By: s/Heather Tildes, Deputy Clerk
